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6
     Attorneys for Plaintiff
7    United States of America

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10                                 IN THE UNITED STATES DISTRICT COURT

11                                      EASTERN DISTRICT OF CALIFORNIA

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14   UNITED STATES OF AMERICA,                             CASE NO. 1:16-CR-00176 DAD
                                                                    1:16-CR-00187 DAD
15                                Plaintiff,
                                                           STIPULATION TO EXTEND BRIEFING SCHEDULE
16                          v.                             ON DEFENDANT’S MOTION FOR CS/CI
                                                           DISCLOSURE
17   CHRIS WILEY, AND
     DARIEN HATCHER
18
                                  Defendant.
19

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21          The United States, through McGregor W. Scott, United States Attorney and Kimberly A. Sanchez,

22   Assistant U.S. Attorney, and W. Scott Quinlan, attorney for Chris Wiley, and Michael Berdinella, attorney

23   for Darian Hatcher, have stipulated to an extension of time for the government to file an opposition to the

24   defendant’s motion for reconsideration from January 4, 2019 until January 14, 2018 and for defendants to

25   reply, if any, on or before February 4, 2019. There is no request to change the date for hearing on the

26   motions set for February 27, 2019. On November 12, 2018, Hatcher filed a Motion for Disclosure of

27   Confidential Informants. On or about November 13, 2018, C. Wiley filed a Motion for Disclosure of

28   Confidential Sources and Unredacted Discovery of Informant Agreements. Undersigned counsel has had

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1    multiple filing deadlines over the past several weeks, including this week and including a 9th Circuit brief.

2    Defense does not object to the extension. Therefore, the parties request the Court issue an Order granting the

3    extension request in this stipulation.

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5            Dated: January 2, 201918                                Respectfully submitted,

6                                                                    McGREGOR W. SCOTT
                                                                     United States Attorney
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8
                                                             By      /s/ Kimberly A. Sanchez
9                                                                    KIMBERLY A. SANCHEZ
                                                                     Assistant U.S. Attorney
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11           Dated: January 2, 2019                                  /s/ William Scott Quinlan
                                                                     WILLIAM SCOTT QUINLAN
12                                                                   Attorney for Chris Wiley
13
             Dated: January 2, 2019                                  /s/ Michael Berdinella
14                                                                   MICHAEL BERDINELLA
                                                                     Attorney for Darien Hatcher
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16                                                      ORDER

17           Pursuant to the parties’ stipulation, the Government may file its opposition to defendant’s motion for

18   reconsideration on or before January 14, 2019, and defendants may file their reply, if any, on or before

19   February 4, 2019.

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     IT IS SO ORDERED.
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         Dated:     January 3, 2019
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                                                          UNITED STATES DISTRICT JUDGE
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